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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MERCIS B.V.,

        Plaintiff,                                         Case No.: 1:19-cv-2058

   v.                                                      Judge Robert W. Gettleman

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Sheila M. Finnegan
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                    DEFENDANT
              343                               Fairry Tale World Store
              454                                     JK2 Factory
              414                           HG Textiles Party Supplies Store
              743                          The Four Treasures of Study Store
              627                                Rolling Pompons Store
              450                             Jennifer's Commodity Store
              266                                   Breeze toy Store
              387                                 H & M LuB-an Store
              382                                  Grape0368 Fashion
              555                                Moonlight Beach Store
              434                              ImbibeInk Costume Store
              435                                  ImbibeInk
                                                   ImbibeInk 's
                                                             's Store
                                                                Store
              230                                   Baby Of Liberty
              378                                Good Price Wholesale
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           278                             Child Kingdom
           566                              My Baby Store
           354                              Fine gift store
           208                               Anime lover
           577                          Newborn Babies Store
           517                             luck lucia Store
           293                          ColorfulTime C Store
           582                         NO Name Faimily Store
           224                             baby 2017 Store
           413                            HEY, BABY Store
           572                           Naughty child Store
           701                           Shop4769023 Store
           264                       Boutique of small bones Store
           620                          Quality creativity Store
           174                                  5value
           681                           Shop4391115 Store
           656                           Shop2397093 Store



DATED: July 6, 2019                         Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
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                                            ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on July 6, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
